     1:20-cv-04184-MGL-SVH        Date Filed 12/03/21   Entry Number 24   Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF SOUTH CAROLINA

    Dylan S., 1                              )     C/A No.: 1:20-4184-MGL-SVH
                                             )
                         Plaintiff,          )
                                             )
          vs.                                )
                                             )                 ORDER
    Kilolo Kijakazi, 2                       )
    Commissioner of Social Security          )
    Administration,                          )
                                             )
                         Defendant.          )
                                             )

          This matter is before the court on Plaintiff’s motion for attorney fees

under the Equal Access to Justice Act, 28 U.S.C. § 2412 (“EAJA”). [ECF No.

22]. On November 2, 2021, the court issued an order granting the

Commissioner’s           motion   to   remand,    reversing   the   decision   of   the

Commissioner pursuant to sentence four of 42 U.S.C. § 405(g), and

remanding the action for further administrative proceedings. [ECF No. 20].

On November 22, 2021, Plaintiff filed this motion seeking $2,850.46 in

attorney fees. [ECF No. 22]. The Commissioner subsequently filed a response

indicating she did not object to the requested amount. [ECF No. 23]. Given


1 The Committee on Court Administration and Case Management of the
Judicial Conference of the United States has recommended that, due to
significant privacy concerns in social security cases, federal courts should
refer to claimants only by their first names and last initials.
2 Kilolo Kijakazi became the Acting Commissioner of Social Security on July

9, 2021. Pursuant to Fed. R. Civ. P. 25(d), she is substituted for former
Commissioner Andrew Saul as the defendant in this action.
    1:20-cv-04184-MGL-SVH   Date Filed 12/03/21   Entry Number 24   Page 2 of 2




Plaintiff’s counsel’s representations in her motion and the Commissioner’s

response in support of the motion and in accordance with 28 U.S.C. § 2412(d),

the court grants the motion and directs the Commissioner to pay Plaintiff

$2,850.46. This payment shall constitute a complete release from and bar to

any further claims that Plaintiff may have under the EAJA to fees, costs, and

expenses incurred in connection with disputing the Commissioner’s decision.

This award is without prejudice to the rights of Plaintiff’s counsel to seek

attorney fees under section 206(b) of the Social Security Act, 42 U.S.C. §

406(b), subject to the offset provisions of the EAJA.

       Under Astrue v. Ratliff, 560 U.S. 586, 595–97 (2010), EAJA fees

awarded by this court belong to Plaintiff and are subject to offset under the

Treasury Offset Program (31 U.S.C. § 3716(c)(3)(B) (2006)). Therefore, the

court orders the EAJA fee be paid to Plaintiff through payment delivered to

Plaintiff’s counsel. 3

       IT IS SO ORDERED.


December 3, 2021                           Shiva V. Hodges
Columbia, South Carolina                   United States Magistrate Judge




3 Plaintiff’s counsel may disburse these funds to satisfy valid liens or in
accordance with a lawful assignment.
                                       2
